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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 ALVIN L. BRAGG, JR., in his official capacity as
 District Attorney for New York County

 Plaintiff,                                                           Case No. 23-cv-3032

       v.

 JIM JORDAN, in his official capacity as Chairman of the
 Committee on the Judiciary, et al.,

 Defendants.


                    DECLARATION OF THEODORE J. BOUTROUS, JR.

I, Theodore J. Boutrous, Jr., pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.       I am a member of the bar of this Court and a partner of the law firm of Gibson,

Dunn & Crutcher LLP, counsel to Plaintiff Alvin L. Bragg, Jr. I am personally familiar with the

facts set forth in this Declaration and if called, could testify competently thereto.

        2.       I submit this declaration in support of Plaintiff’s Memorandum Of Law In

Support Of His Motion For A Temporary Restraining Order And Preliminary Injunction.

        3.       Attached as Exhibit 1 is a true and correct copy of an April 6, 2023 letter from

U.S. Representative Jim Jordan to Mark F. Pomerantz, enclosing a copy of an April 6, 2023

subpoena issued by U.S. Representative Jim Jordan to Mark F. Pomerantz.

        4.       Attached as Exhibit 2 is a true and correct copy of a March 20, 2023 letter from

U.S. Representatives Jim Jordan, Bryan Steil, and James Comer to New York County District

Attorney Alvin L. Bragg, Jr.

        5.       Attached as Exhibit 3 is a true and correct copy of a Tweet by Kevin McCarthy

(@SpeakerMcCarthy) at 5:00 PM EST on April 4, 2023.
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       6.       Attached as Exhibit 4 is a true and correct copy of a Truth Social post by Donald

J. Trump (@realDonaldTrump) at 9:50 AM EST on March 31, 2023.

       7.       Attached as Exhibit 5 is a true and correct copy of a Truth Social post by Donald

J. Trump (@realDonaldTrump) at 6:29 PM EST on March 30, 2023. Attached as Exhibit 5-A is

a true and correct copy of an image attached to the Truth Social Post by Donald J. Trump

(@realDonaldTrump) at 6:29 PM EST on March 30, 2023.

       8.       Attached as Exhibit 6 is a true and correct copy of a Truth Social post by Donald

J. Trump (@realDonaldTrump) at 7:26 AM EST on March 18, 2023.

       9.       Attached as Exhibit 7 is a true and correct copy of a Truth Social post by Donald

J. Trump (@realDonaldTrump) at 8:50 AM EST on March 23, 2023.

       10.      Attached as Exhibit 8 is a true and correct copy of a Truth Social post by Donald

J. Trump (@realDonaldTrump) at 1:08 AM EST on March 24, 2023.

       11.      Attached as Exhibit 9 is a true and correct copy of a “ReTruth” by Donald J.

Trump (@realDonaldTrump) of a March 23, 2023 Truth Social post by Wayne Allyn Root.

       12.      Attached as Exhibit 10 is a true and correct copy of a March 23, 2023 letter from

Leslie B. Dubeck, General Counsel to the New York County District Attorney, to U.S.

Representatives Jim Jordan, Bryan Steil, and James Comer.

       13.      Attached as Exhibit 11 is a true and correct copy of a March 25, 2023 letter from

U.S. Representatives Jim Jordan, Bryan Steil, and James Comer to New York County District

Attorney Alvin L. Bragg, Jr.

       14.      Attached as Exhibit 12 is a true and correct copy of a March 27, 2023 letter from

Mark F. Pomerantz to U.S. Representative Jim Jordan.




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          15.   Attached as Exhibit 13 is a true and correct copy of a March 27, 2023 letter from

Carey R. Dunne to U.S. Representative Jim Jordan.

          16.   Attached as Exhibit 14 is a true and correct image of a Truth Social Post by

Donald J. Trump (@realDonaldTrump). The post has since been deleted from Mr. Trump’s

Truth Social profile.

          17.   Attached as Exhibit 15 is a true and correct copy of an article titled Republicans

Vowed to Grill Bragg About Trump, But It’s Not so Simple, written by Luke Broadwater and

Jonathan Swan, published by the New York Times on April 5, 2023.

          18.   Attached as Exhibit 16 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 8:05 PM EST on March 30, 2023.

          19.   Attached as Exhibit 17 is a true and correct copy of a Tweet by Rep. Jim Jordan

(@Jim_Jordan) at 5:48 PM EST on March 30, 2023.

          20.   Attached as Exhibit 18 is a true and correct copy of a Tweet by Kevin McCarthy

(@SpeakerMcCarthy) at 6:51 PM EST on March 30, 2023.

          21.   Attached as Exhibit 19 is a true and correct copy of a March 31, 2023 letter from

Leslie B. Dubeck, General Counsel to the New York County District Attorney, to U.S.

Representatives Jim Jordan, Bryan Steil, and James Comer.

          22.   Attached as Exhibit 20 is a true and correct copy of a Retweet by Rep. Jim Jordan

(@Jim_Jordan) of a Tweet by Rep. Wesley Hunt Press Office (@RepWPH) at 10:09 AM on

April 7, 2023 linking to a video of an April 7, 2023 interview with Rep. Wesley Hunt on Fox and

Friends. Attached as Exhibit 20-A is a true and correct copy of the April 7, 2023 Fox News

broadcast of Fox and Friends interviewing Rep. Wesley Hunt and Retweeted by Rep. Jim

Jordan.




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       23.     Attached as Exhibit 21 is a true and correct copy of the Statement of Carlos

Felipe Uriarte, Assistant Attorney General, Office of Legislative Affairs, before the

Subcommittee on Responsiveness and Accountability to Oversight, Committee on the Judiciary,

U.S. House of Representatives, at a Hearing Entitled “Compliance with Committee Oversight,”

presented March 9, 2023.

       24.     Attached as Exhibit 22 is a true and correct copy of an article titled DOJ Tells

House Judiciary Chair It Will Not Hand over Most Biden Special Counsel Probe Documents

until Investigation Complete, written by Zachary Cohen, published by CNN and last updated on

January 30, 2023.

       25.     Attached as Exhibit 23 is a true and correct copy of an article titled Inside the

Backchannel Communications Keeping Donald Trump in the Loop on Republican Investigations,

written by Annie Grayer, Alayna Treene, Melanie Zanona and Kristen Holmes, published by

CNN on March 28, 2023.

       26.     Attached as Exhibit 24 is a true and correct copy of an article titled Trump

Already Has a Plan to Get Revenge on Alvin Bragg, written by Asawin Suebsaeng and Adam

Rawnsley, published by Rolling Stone on March 23, 2023.

       27.     Attached as Exhibit 25 is a true and correct copy of an article titled House

G.O.P., Defending Trump, Targets Bragg Ahead of Expected Indictment, written by Annie Karni

and Luke Broadwater, published by the New York Times on March 20, 2023.

       28.     Attached as Exhibit 26 is a true and correct copy of an article titled Trump’s

Lawyers Are Begging Him for Restraint. His Political Allies Are Preparing to ‘Fight Dirty’,

written by Tim Dickinson, Asawin Suebsaeng, and Adam Rawnsley, published by Rolling Stone

on April 6, 2023.




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       29.    Attached as Exhibit 27 is a true and correct excerpted copy of a September 14,

2016 transcript of the U.S. House of Representatives Committee on Science, Space, and

Technology’s hearing titled Affirming Congress’ Constitutional Oversight Responsibilities:

Subpoena Authority and Recourse for Failure to Comply with Lawfully Issued Subpoenas.

       30.    Attached as Exhibit 28 is a true and correct copy of an April 7, 2023 letter from

U.S. Representative Jim Jordan to Matthew B. Colangelo.

       31.    Attached as Exhibit 29 is a true and correct copy of an article titled Trump

Claims His Arrest Is Imminent and Calls for Protests, Echoing Jan. 6, written by Maggie

Haberman, Jonah E. Bromwich, Ben Protess, Alan Feuer, and William K. Rashbaum, published

by the New York Times and last updated on April 4, 2023.

       32.    Attached as Exhibit 30 is a true and correct copy of a Tweet by Rep. Marjorie

Taylor Greene (@RepMTG) at 2:02 PM EST on March 22, 2023.

       33.    Attached as Exhibit 31 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 9:06 AM EST on March 23, 2023.

       34.    Attached as Exhibit 32 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 8:04 AM EST on March 29, 2023.

       35.    Attached as Exhibit 33 is a true and correct copy of a Tweet by Kevin McCarthy

(@SpeakerMcCarthy) at 3:33 PM EST on March 19, 2023.

       36.    Attached as Exhibit 34 is a true and correct excerpted copy of the Final Report of

the House Select Committee to Investigate the January 6th Attack on the U.S. Capitol, dated

December 22, 2022.

       37.    Attached as Exhibit 35 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 9:23 AM EST on March 30, 2023.




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       38.    Attached as Exhibit 36 is a true and correct copy of the indictment of Donald J.

Trump, alleging 34 counts of Falsifying Business Records in the First Degree. Attached as

Exhibit 36-A is a true and correct copy of the Statement of Facts accompanying the indictment

of Donald J. Trump (IND-71543-23), dated April 4, 2023.

       39.    Attached as Exhibit 37 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 12:39 PM EST on March 31, 2023.

       40.    Attached as Exhibit 38 is a true and correct copy of an article titled Manhattan

DA Alvin Bragg Inundated with Racist Emails, Death Threats amid Trump Indictment; ‘We Are

Everywhere and We Have Guns’, written by Molly Crane-Newman, published by the New York

Daily News on March 31, 2023.

       41.    Attached as Exhibit 39 is a true and correct copy of a Tweet by Ronny Jackson

(@RonnyJacksonTX) at 5:35 PM on March 30, 2023.

       42.    Attached as Exhibit 40 is a true and correct copy of a Tweet by Rep. Dan Bishop

(@RepDanBishop) at 1:53 PM EST on March 31, 2023.

       43.    Attached as Exhibit 41 is a true and correct copy of a Tweet by House Judiciary

GOP (@JudiciaryGOP) at 5:59 PM EST on March 31, 2023.

       44.    Attached as Exhibit 42 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 8:40 PM EST on April 3, 2023.

       45.    Attached as Exhibit 43 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 8:51 PM EST on April 3, 2023.

       46.    Attached as Exhibit 44 is a true and correct copy of a Truth Social post by

Donald J. Trump (@realDonaldTrump) at 9:52 AM EST on April 4, 2023.




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        47.      Attached as Exhibit 45 is a true and correct copy of a Tweet by Donald Trump Jr.

(@DonaldJTrumpJr) at 12:27 PM EST on April 4, 2023.

        48.      Attached as Exhibit 46 is a true and correct copy of a Tweet by Rep. Marjorie

Taylor Greene (@RepMTG) at 1:00 PM EST on April 4, 2023.

        49.      Attached as Exhibit 47 is a true and correct copy of a press release titled Jordan,

Comer Release Statement on Unconstitutional Gag Order, issued on April 4, 2023 by the

Committee on the Judiciary of the U.S. House of Representatives.

        50.      Attached as Exhibit 48 is a true and correct copy of an article titled House

Judiciary Committee to Hold NYC Hearing with ‘Victims’ of DA Alvin Bragg’s Policies, written

by Steven Nelson, published by the New York Post and last updated on April 10, 2023.

        51.      Attached as Exhibit 49 is a true and correct copy of an article titled Trump Rips

Alvin Bragg after NYC Arrest: ‘The Criminal Is the District Attorney’, written by Caitlin

Doornbos, Steven Nelson, and Selim Algar, published by the New York Post and last updated on

April 4, 2023.

        52.      Attached as Exhibit 50 is a true and correct copy of a Tweet by Rep. Jim Jordan

(@Jim_Jordan) at 11:46 AM EST on April 6, 2023.

        53.      Attached as Exhibit 51 is a true and correct copy of a Retweet by Rep. Jim Jordan

(@Jim_Jordan) of a Tweet by Breitbart News (@BreitbartNews) at 11:24 AM EST on April 6,

2023.

        54.      Attached as Exhibit 52 is a true and correct copy of a recording of a March 26,

2023 CNN broadcast of State of the Union with Jake Tapper and Dana Bash interviewing James

Comer, available at https://www.cnn.com/videos/politics/2023/03/26/sotu-rep-comer-full.cnn.




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        55.    Attached as Exhibit 53 is a true and correct copy of a recording of an April 2,

2023 Fox News broadcast of Sunday Morning Futures with Maria Bartiromo interviewing Jim

Jordan, available at https://www.foxnews.com/video/6323835580112.

        56.    Attached as Exhibit 54 is a true and correct copy of a recording of an April 4,

2023 Fox News broadcast of Jesse Watters Primetime interviewing Jim Jordan and James

Comer, available at https://www.youtube.com/watch?v=cnxn3OOtaBg&ab_channel=FoxNews.

        57.    Attached as Exhibit 55 is a true and correct copy of an article titled Trump Vows

to Remove ‘Thugs and Criminals’ from Justice System at Rally, amid Legal Woes, written by

Julia Shapero, published by The Hill on March 25, 2023.

        58.    Attached as Exhibit 56 is a true and correct copy of a Tweet by Rep. Jim Jordan

(@Jim_Jordan) at 9:52 AM EST on April 10, 2023.

        59.    Attached as Exhibit 57 is a true and correct copy of a Retweet by Rep. Jim Jordan

(@Jim_Jordan) of a Tweet by House Judiciary GOP (@JudiciaryGOP) at 8:15 AM on April 10,

2023.

        60.    Attached as Exhibit 58 is a true and correct copy of a March 22, 2023 letter from

U.S. Representative Jim Jordan to Mark F. Pomerantz.

        61.    Attached as Exhibit 59 is a true and correct copy of a March 22, 2023 letter from

U.S. Representative Jim Jordan to Carey R. Dunne.

        I declare under penalty of perjury that the foregoing is true and correct.


Dated: New York, New York
       April 11, 2023


                                                              /s/ Theodore J. Boutrous, Jr.
                                                                    Theodore J. Boutrous, Jr.




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